        Case 3:21-cv-00356 Document 32 Filed on 01/18/22 in TXSD Page 1 of 8




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                              GALVESTON DIVISION


 FEDS FOR MEDICAL FREEDOM, et al.,

     Plaintiffs,                                   Civil Action 3:21-cv-00356

          v.

 JOSEPH R. BIDEN, JR., in his official
 capacity, et al.,

     Defendants.


 RESPONSE TO PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

         Defendants respectfully respond to Plaintiffs’ Notice of Supplemental Authority, ECF

No. 29 (“Notice”), which discusses National Federation of Independent Business v. OSHA, 595 U.S.

___ (2022) (“NFIB”), and Biden v. Missouri, 595 U.S. ___ (2022). To the extent that those

decisions are relevant here, they confirm that Executive Order 14043 constitutes a legitimate

exercise of the President’s authority to oversee the Executive Branch workforce.

   I.          NFIB Does Not Limit The President’s Authority To Oversee The Federal
               Workforce.

         NFIB addresses a statutory question irrelevant to the one at issue here: whether the

Occupational Safety and Health Administration (“OSHA”) has statutory authority to impose

a masking, testing, and vaccination requirement on private businesses. It does not address

whether the federal government may impose a vaccination requirement on its own workforce,

just as numerous other employers across the country have chosen to do.
     Case 3:21-cv-00356 Document 32 Filed on 01/18/22 in TXSD Page 2 of 8




       The Supreme Court uncontroversially observed in NFIB that “[a]dministrative agencies

are creatures of statute,” and “possess only the authority that Congress has provided.” NFIB,

slip. op. at 5. That is true, but the President of the United States is not a creature of statute;

the Constitution itself vests him with executive power. U.S. Const. Art. II, sec. 1. Thus, as

other courts have recognized, the President possesses independent constitutional authority to

act as CEO of the Executive Branch, even absent confirming statutory authority from

Congress. See Rydie v. Biden, No. 21-2696, 2021 WL 5416545, at *3 (D. Md. Nov. 19, 2021)

(“The President derives his authority to regulate the federal workforce from the Constitution,

not from Congress’s enactments.”), appeal pending, No. 21-2359 (4th Cir.); Oklahoma v. Biden, ---

F. Supp. 3d ---, 2021 WL 6126230, at *10 (W.D. Okla. Dec. 28, 2021) (“executive order is a

permissible exercise of executive authority . . . substantially for the reasons stated in Rydie”).

Indeed, the reason that Congress sometimes limits the President’s ability to hire or remove

whomever he pleases, see, e.g., 42 U.S.C. § 2000e-16 (Title VII protections for civil servants);

5 U.S.C. § 7513 (discipline “only for such cause as will promote the efficiency of the service”),

is that absent such limits the President’s Article II authority in this area would be untethered

by statute. The appropriate question is therefore whether Congress has prohibited the Executive

Branch from requiring its employees to be vaccinated, and even Plaintiffs do not suggest that

Congress has done so.

       Even if explicit congressional authorization were necessary, it exists here for the

reasons Defendants have explained. See Defs.’ Opp’n. to Mot. for Prelim. Inj. at 27 (“Opp’n

Br.”), ECF No. 21. Plaintiffs point to NFIB’s invocation of the so-called major questions

doctrine, but it does not apply here. NFIB involved a mandate affecting 84 million private


                                                2
      Case 3:21-cv-00356 Document 32 Filed on 01/18/22 in TXSD Page 3 of 8




sector employees. In Executive Order 14043, however, the government is not claiming “the

power to regulate or license, as lawmaker,” but rather “as proprietor, to manage [its] internal

operation.” Cafeteria & Restaurant Workers Union v. McElroy, 367 U.S. 886, 896 (1961). As the

Supreme Court has repeatedly instructed lower courts, the government’s role—as either

regulator or proprietor—is a critical distinction. See, e.g., NASA v. Nelson, 562 U.S. 134, 148

(2011) (“Time and again our cases have recognized that the Government has a much freer

hand in dealing ‘with citizen employees than it does when it brings its sovereign power to bear

on citizens at large.’” (quoting Engquist v. Oregon Dep’t of Agriculture, 553 U.S. 591, 598 (2008)));

Borough of Duryea, Pa. v. Guarnieri, 564 U.S. 379, 392-93 (2011) (“The government’s interest in

managing its internal affairs requires proper restraints on the invocation of rights by employees

when the workplace or the government employer’s responsibilities may be affected.”). Indeed,

this Court has already recognized that EO 14043 is supported by “more authority” than the

“healthcare worker mandate” addressed in Part II below, because the latter applies to

“nonfederal employees,” Hr’g Tr. at 7:18-22—and that mandate has now been upheld by the

Supreme Court in Missouri. Even putting aside that critical distinction, EO 14043 applies to

far fewer employees than the OSHA rule. See Cong. Rsch. Serv., Federal Workforce Statistics

Sources: OPM and OMB, https://crsreports.congress.gov/product/pdf/R/R43590/17

(approximately 2.1 million civilian workers). 1


1 Finally, Plaintiffs’ halfhearted suggestion that Tenth Amendment principles are relevant here,
see Notice at 4, may be rejected out of hand. Whatever police powers the states generally
possess, the employment relationship between the federal government and its own workforce
is an exclusively federal concern that states are powerless to regulate under the Supremacy
Clause. See Johnson v. Maryland, 245 U.S. 51 (1920); Sperry v. Florida ex rel. Florida Bar, 373 U.S.
379, 385 (1963).

                                                  3
      Case 3:21-cv-00356 Document 32 Filed on 01/18/22 in TXSD Page 4 of 8




II.    The Lack Of A Perfect Historical Analogue Does Not Invalidate An Otherwise
       Lawful Exercise Of Executive Power.
       Plaintiffs argue that because the President has never previously required vaccines for

federal employees, he must lack the power to do so. See Notice at 4–6. That is wrong, and

NFIB does not suggest otherwise. To the contrary, as explained above, NFIB is principally

concerned with a specific statutory question not presented here.

       The more relevant opinion on this question is Missouri, which shows that the federal

government may exercise old powers in new ways when faced with new challenges. Like the

Secretary of Health and Human Services, the President, in his capacity as an employer, “has

never had to address an infection problem of this scale and scope before.” Missouri, slip op.

at 7. Thus, the fact that the federal employee vaccine mandate “goes further than what the

[President] has done in the past to implement [workplace safety]” is not at all surprising—and

it does not place the executive order outside the President’s authority to regulate employee

conduct.     Id.   If that were the case, the President could never respond to changing

circumstances like the COVID-19 pandemic. See generally The Federalist No. 70, p. 425 (C.

Rossiter ed. 1961) (A. Hamilton) (explaining that “vigor[ous] and expedit[ous]”

decisionmaking is the “most necessary ingredient[]” of the Executive’s power). Consequently,

NFIB does not decide the case; this Court, if it reaches the merits, is free to resolve

independently whether EO 14043 falls within the President’s constitutional and statutory

authority.

       In any event, EO 14043 is not as unprecedented as Plaintiffs would have the Court

believe. Before 1986, no President had sought to impose a drug-testing mandate on federal

employees: It took “a new epidemic” of drug abuse to spur President Reagan’s exercise of

                                              4
       Case 3:21-cv-00356 Document 32 Filed on 01/18/22 in TXSD Page 5 of 8




executive power in response to a nationwide health crisis. See Address to the Nation on the

Campaign Against Drug Abuse (Sept. 14, 1986), https://perma.cc/5RFU-6XS6. Recognizing

that the federal government was concerned with both “the well-being of its employees” and

“the successful accomplishment of agency missions,” President Reagan invoked constitutional

and statutory authorities similar to those at issue here and issued Executive Order 12564,

which banned the use of illegal drugs by federal employees on or off duty and required employing

agencies to implement robust drug-testing programs. 51 Fed. Reg. 32,889 (Sept. 15, 1986).

That executive order was not rendered unlawful by its novelty, and neither is this one.

III.    Executive Order 14043 Is Not Subject To APA Review And Requires No
        Rulemaking Record.

        In Missouri, the Supreme Court held that, “given the rule-making record,” the interim

final rule was not arbitrary and capricious under the Administrative Procedure Act (APA).

Missouri, slip op. at 6. Plaintiffs contend that because there is no similar record here, the

agencies’ vaccine requirements must be arbitrary and capricious. Notice at 6. But the agencies’

vaccine requirements are not final rules subject to the APA, nor is the executive order itself.

See Opp. Br. 20–21; see also Rodden, 2021 WL 5545234, at *3 (relevant “final agency action” is

an employing agency’s ultimate decision as to whether an individual employee “receives an

exemption, whether and what additional remedial measures and procedures should be taken,

and whether and how [that employee] should be disciplined). In any event, the vaccination

requirement is amply supported by CDC’s determination, adopted by the President, that

vaccination is the best way to fight COVID-19. See Opp. Br. at 23. Nothing in Missouri

suggests otherwise.



                                               5
      Case 3:21-cv-00356 Document 32 Filed on 01/18/22 in TXSD Page 6 of 8




IV.    The Court Lacks Jurisdiction Under The CSRA.

       Finally, Plaintiffs ignore the most salient difference between this case and NFIB, which

is that the Civil Service Reform Act divests this Court of jurisdiction by creating “the

comprehensive and exclusive procedures for settling work-related controversies between

federal civil-service employees and the federal government.” Rollins v. Marsh, 937 F.2d 134,

139 (5th Cir. 1991) (emphasis added). Plaintiffs’ reliance on 1980s-era cases to contend that

these principles do not apply to programmatic challenges to generally applicable policies, see

Pls.’ Reply, ECF No. 23 at 1-4, is unambiguously foreclosed by modern Supreme Court

precedent. See Elgin v. Dep’t of Treasury, 567 U.S. 1, 7-8 (2012) (CSRA precluded district court

action seeking not only “reinstatement to their former positions, backpay, benefits, and

attorneys’ fees,” but also “a declaratory judgment that the challenged statutes are

unconstitutional”). Writing for the Court, Justice Thomas rejected the federal employee’s

contention that he “could challenge the constitutionality of the statute authorizing an agency’s

action in district court, but the MSPB would remain the exclusive forum for other types of

challenges to the agency’s decision.” Id. at 14. That is the exact same contention that Plaintiffs

advance here, and this Court is bound by the Supreme Court’s rejection of it in Elgin.


Dated: January 18, 2022                      Respectfully submitted,

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                                              /s/ James G. Gillingham
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                                             Acting Under Authority Conferred by 28 U.S.C. §

                                                6
Case 3:21-cv-00356 Document 32 Filed on 01/18/22 in TXSD Page 7 of 8




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                                  7
     Case 3:21-cv-00356 Document 32 Filed on 01/18/22 in TXSD Page 8 of 8




                             CERTIFICATE OF SERVICE

        I certify that on January 18, 2022, a true and accurate copy of the foregoing document
was filed electronically (via CM/ECF) and served on all counsel of record.

                                    /s/ James G. Gillingham
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